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                                   ABSTRACT OF JTIDGMENT

                                                            Notice
          Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the
manner in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C.] $n
                                                                                                        G),creates a
lien on all real property ofthe defendant(s) and has priority over all other liens or encumbrances which are perfected
laterintime. Theliencreatedbythissectioniseffective,unlesssatisfied,foraperiodof20yearsandmay-be
 renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration of the 20 year period
 to prevent the expiration ofthe lien and the court approves the renewal, the lien shall ielate back to the date ihe
judgment is filed.


Court Name: United States District Court
            Northern District of California
Court Number: C 20-01348 YGR
County: Humboldt County
JUDGEMENT DEBTORS(S): Names of Parfy against                                  CREDITOR: Name of Parties in whom favor
whom       have been filed                                                 have been obtained
BEDROCK INVESTMENTS LLC                                                     STATES OF AMERICA




Social Security No.' **x-{<*-726
Driver's License No. and State   nknown

Amount of    J                            Names of Creditor's     Attorneys          lWt    Docketed
                                                 States of America                    udgment Entered or Registered
                                           o U.S. Attornev's Office
                                            0 Golden Gate Avenue                              2021
       087 750                             O. Box 36055
                                               Francisco, CA 94102
Plus costs and interest
                                            ttn: Financial Litigation Program
                                           4t5 436-6970

        I Certi$ that the foregoing is a true and correct abstract of the judgment entered or
registered by this Court.
                                               Mark B. Busby
                                               Clerk of the Court
                                               United States District Court
                                               Northern District of California


                                              By:
                                                       Deputy Clerk

                                    Date Issued
